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                                                                       JS-6
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7    CHRISTINA ACEVES
8
                           UNITED STATES DISTRICT COURT
9
                         CENTRAL DISTRICT OF CALIFORNIA
10
                                  EASTERN DIVISION
11

12                                            )   Case No.: 5:15-cv-00801-PA
     CHRISTINA ACEVES,
                                              )   ORDER RE:
13                                            )   JOINT STIPULATION TO
                   Plaintiff,
                                              )   DISMISS WITH PREJUDICE
14                                            )
           vs.
                                              )
15                                            )
     SYNCHRONY BANK,                          )
16                                            )
                   Defendant.                 )
17                                            )
                                              )
18

19
                 JOINT STIPULATION TO DISMISS WITH PREJUDICE
20
                   Plaintiff CHRISTINA ACEVES, by and through her attorneys,
21
     PRICE LAW GROUP APC, and Defendant SYNCHRONY BANK by and through
22
     its attorneys, REED SMITH LLP, hereby stipulate and agree that all matters herein
23
     between them have been compromised and settled, and that the case in its entirety
24

25




                                      Voluntary Dismissal
                                              -1-
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1    must be dismissed with prejudice, with each party to bear its own costs and
2    attorneys’ fees.
3

4          Respectfully submitted this 14th day of September, 2015,
5

6                                        By: /s/ Stuart M. Price
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19
                                                            September 15, 2015
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                                      Voluntary Dismissal
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